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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


UNITED STATES OF AMERICA,                                     4:22-cr-00199-SHL-HCA-1
                       Plaintiff,
        vs.                                          ORDER REGARDING DISCLOSURE OF
                                                        NFA DIVISION INFORMATION
BRADLEY EUGENE WENDT,
                       Defendant.

       On August 17, 2023, the Court entered an Order Sustaining in Part and Overruling in Part
[Defendant’s] Appeal from Magistrate Judge Order. (ECF 261.) As directed, the Government has
produced some information to the defense, but it also filed a notice seeking clarification from the
Court as to one discovery-related issue. (ECF 268; ECF 269.) The Government states that it
worked with the National Firearms Act Division of the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF-NFA”) to obtain records regarding, inter alia, “which law enforcement agencies
in Iowa had machine guns in the past five years and the number of machine guns each such agency
possessed.” (ECF 261, p. 5.) The Government reports that it has located and produced information
from ATF-NFA showing the number of machine guns that were transferred to law enforcement
agencies in Iowa over the past five years. (ECF 268, p. 3; ECF 269-2.) The Government states,
however, that a more detailed analysis of ATF-NFA records would be required to determine the
number of machine guns “in the possession of Iowa law enforcement agencies in the past five
years regardless of when the underlying transfers occurred.” (ECF 268, p. 3.) The Government
seeks clarification on whether ATF-NFA is required to go through this more complex process.
       The potential relevance of the information in question is based on how many machine guns
were in the possession of Iowa law enforcement agencies at a given time, not simply how many
machine guns were transferred to those agencies in the past five years. The Court therefore
ORDERS the Government to undertake the additional analysis and produce information showing
the number of machine guns in the possession of Iowa law enforcement agencies in the past five
years, regardless of when the underlying transfers occurred. The Government must produce this
information by October 2, 2023.
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       To the extent it makes the gathering and production of information simpler, the
Government may choose a specific date within the past twelve months (e.g., December 31, 2022)
and calculate the number of machine guns in the possession of Iowa law enforcement agencies as
of that date. The Court’s prior Order required the Government to produce information regarding
the number of machine guns each law enforcement agency possessed “in the past five years,”
which is potentially ambiguous because the numbers may have changed during the five-year
period. Choosing a specific date resolves this ambiguity.


       IT IS SO ORDERED.

       Dated: September 18, 2023               ______________________________________
                                                 STEPHEN H. LOCHER
                                                 U.S. DISTRICT JUDGE




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